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MAGISTRATE'S CRIMINAL MINUTES

ARRAIGNMENT
      PLEA AND
            SENTENCE



                                                                                           Time in Court:                 Hrs           12   Min

 Filed in Open Court:          Date:       01/04/2022         Time:     10:33 am                      Tape:      FTR

Magistrate (presiding): REGINA D. CANNON                                      Deputy Clerk:          Phyllis Brannon

 Case Number:       1:22-cr-00004                                     Defendant's Name:                De'reek Banks

 AUSA:              Samir Kaushal                                     Defendant's Attorney:            Benjamin Alper

 USPO/PTR:          Jamie Bowers                                      Type Counsel: (X) Retained              () CJA () FPD          () Waived


      ARREST DATE:

       INTERPRETER:

 X     INITIAL APPEARANCE HEARING.                    (X) In THIS DISTRICT                             Dft in custody? () Yes            () No

 X     Defendant advised of right to counsel.            ( ) WAIVER OF COUNSEL filed.

       ORDER appointing Federal Defender Program as counsel.                          ( ) INITIAL APPEARANCE ONLY.

       ORDER appointing        I                                                                       as counsel.

       ORDER giving defendant          I                                      days to employ counsel (cc: served by Mag CRD)

       Dft to pay attorney fees as follows:       I
 X     INFORMATION/INDICTMENT filed.                                                   I         X     WAIVER OF INDICTMENT filed.

 X     Copy information/indictment given to dft? (X) Yes () No - Read to dft? () Yes () No (X) Waived formal reading

       CONSENT TO TRIAL BEFORE MAGISTRATE (Misd / Petty) offense filed.

  X    ARRAIGNMENT HELD. ( ) Superseding indictment                                              I ( ) Dft's WAIVER of appearance filed.
       Arraignment continued to        I                               at                              Request of ( ) Govt ( ) Dft

       Dft failed to appear for arraignment.                          Bench warrant issued

 X     Dft enters PLEA OF NOT GUilTY.             () Dft stood mute; plea of NOT GUilTY entered. () Waiver of appearance.

       MOTION TO CHANGE PLEA, and order allowing same.

 X     ASSIGNED to District            I Judge Ray                    for ( ) trial     (X) arraignmenUsentence.

       ASSIGNED to Magistrate                   Judge                         for pretrial proceedings.

       Estimated trial time:       I            days.                         ( ) SHORT              ( ) MEDIUM        ( )LONG

       PRE-SENTENCE INVESTIGATION filed.                   Referred to USPO for PSI and continued

       until    I                                 I at    I                            I for sentencing.
       Government MOTION FOR DETENTION filed.                     Hearing set for            I                       I at I
       Temporary commitment issued.              Dft remanded to custody of US Marshals Service.
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BOND/PRETRIAL DETENTION HEARING


      DETENTION/BOND hearing held.

      Government MOTION FOR DETENTION               (       ) GRANTED   (    ) DENIED    ( )WITHDRAWN

      Defendant does not contest detention at this time.

      WRITTEN ORDER TO FOLLOW.

      Defendant's Motion for Bond Reconsideration [Doc.] is DENIED.

      WRITTEN ORDER TO FOLLOW.

 X    BOND SET at     I $10,000.00                      I
 X    Non-surety

      Surety   (   ) Cash   (   ) Property     (   ) Corporate surety ONLY

      SPECIAL CONDITIONS:         I

      Defendant to remain on pretrial release under the terms and conditions set forth in the U.S. District Court for the
      District of Court of Arrest
 X    Bond filed. Defendant released.

      Defendant released on CONDITIONS ONLY.

      Bond NOT EXECUTED.              Defendant to remain in Marshal's custody.




x._   DEFENDANT HAS BEEN ADVISED:


      Pursuant to the Due Process Protections Act, see Fed. R. Crim. P. 5(f), the government is ordered to adhere to the
      disclosure obligations set forth in Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and to provide all materials
      and information that are arguably favorable to the defendant in compliance with its obligations under Brady; Giglio ·
      v. United States, 405 U.S. 150 (1972); and their progeny. Exculpatory material as defined in Brady; and Kyle v.
      Whitley, 514 U.S. 419, 434 (1995), shall be provided sufficiently in advance of trial to allow a defendant to use it
      effectively, and exculpatory information is not limited to information that would constitute admissible evidence. The.
      failure of the government to comply with its Brady obligations in a timely manner may result in serious consequences, .
      including, but not limited to, the suppression or exclusion of evidence, the dismissal of some or all counts, adverse
      jury instructions, contempt proceedings, or other remedies that are just under the circumstances.




WITNESSES:
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U.S. Department of Justice
United States Attorney

                                                                          FILED IN Ji rn ceuRT
                                                                             u.s.o.C. -Atlanta
                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA           JAN - 4 2022 ,


                                    · P L E A (With Counsel)
                                                               CRIMINAL NO. 1:22-CR-0004



      I, De'Reek Banks, defendant, having received a copy of the Information and
having been arraigned, plead Not Guilty to the sole count of the Information.
      In Open Court this 4th day of January, 2022.



 SIGNATURE (Defense Attorney)                      SIGNATURE (Defendant)
                                                   De'Reek Banks




                         INFORMATION BELOW MUST BE TYPED OR PRINTED

 Phone: \.\o\.\. 1 ~ ·4:,0\;,        9
 Bar Number:G\~~O\l,_t,_I;
                         _ _ _ __




Filed in Open Court by:

 (Signature)                                                Date




                                                                          Form No. USA-40-19-B
                                                                              N.D. Ga. 11/8/12
